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                               Exhibit G
     J. R. Miller, letter to J. Mark Pohl (Aug. 15, 2021)
Case 3:21-cv-16800-MAS-LHG Document
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                                                                                                   Main Q{fice:
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                                               August 15, 2021

   VIA U.s. MAIL
   J. Mark Pohl, Esq.
   Pharmaceutical Patent Attorneys, LLC
   5S Madison Avenue, 4th Floor
   Morristown, N.J. 07960

               Re:      ParActin® - Panicin™

   Dear Mr. Pohl:

           I represent Sabinsa Corporation, owner ofthe Panicin™ mark. I write in response to
   your July 27, 2021 letter, written on behalfofthe owner ofthe ParActin® mark, HP
   Ingredients Corp. flk/a Herbal Powers Corp. (hereinafter, "Herbal Powers), asserting that the
   two marks are confusingly similar and demanding that Sabinsa cease and desist from selling
   Pankin-branded products.
            Contrary to your letter, I do not find the marks to be confusingly similar. As an
   initial matter, your claim that Sabinsa intentionally ends its Pankin mark with the letters
   "in" in order to misappropriate Herbal Powers' "good reputation," is without merit. With
   minimal research, one can confirm that Sabinsa routinely ends its trademarks with "in" as a
   branding element, including: Samifiozin®, Bacopin®, GarCitrin®, LactoSporin®,
   Nigellin®, Nulaurin™, Salaretin®, Cratavin®, Obestilin®, Centellin®, Powerin™, Citrin®,
   Venocin®, Momordicin®, Chilicin®, Proscalpin™, CitruCyn®, Sapindin®, Turmerin®,
   Boswellin®, Curcousin™, Cococin™, Tinofolin®, Xylosin®, etc.
            Moreover, "Pankin" and "ParActin" are dissimilar in connotation. "Pankin" quite
   plainly derives from and references the Andrographis paniculata plant, from which it is
   extracted. "ParActin," on the other hand, derives from and references actin, which is a group
   ofproteins that playa central role in muscle contraction. This connotation is reinforced by
   emphasizing the "Actin" part of"ParActin" by capitalizing the "A" in plain text, using
   capitalization plus light green coloring in the stylized mark, and, on the product website, by
   explicitly referencing "Bone,Joint & Muscle Health" in the tag line immediately below the
   ParActin mark. See http:/;.paractin.com (last accessed 8/10/21).
            The actin association is further confirmed by NeuroActin®, another nutraceutical
   marketed by Herbal Powers, also derived (apparently) from Andrographis paniculata.I See
   h ttps:!!hpingredien ts.co11lJPfoducts/preI!lier-ingredien ts/neuroactin/ (last accessed 8/10121).




   I   Many other "live" trademarks owned by various third parties highlight "actin" similarly to ParActin
       and NeuroAcrin, including: ViralActin®, Q-Actin®, Inflam-Actin®, Prost-Actin®, Ultra Virile­
       Actin®, and Actin®.
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     JONATRAN R. MILLER



           "Panicin" and "ParActin" are also dissimilar in sound. The third syllable ofthe marks
   are markedly different: the soft "c" in "cin" sounds nothing like the "t" in "tin". Also, in
   Pankin the first syllable is emphasized, versus the second syllable ofParActin.
            Any putative likelihood ofconfusion is further dispelled by the fact that Panicin and
   ParActin are different products marketed to different groups ofconsumers. Pankin is
   marketed and sold as a bulk ingredient to manufacturers in the food, beverage and
   supplement industries, while ParActin appears to be a product marketed directly to
   consumers. Compare https:!lsabinsa.comfoJfoducts-and-services/standardized,-phyto-extracts!
   (last accessed 819121) with https:lrparactin.com/where-to-buX:l?aractin/(last accessed 8/9/21).
             Moreover, even ifHP Ingredients Corp. began to market ParActin as a bulk
   ingredient as well, industry buyers are sophisticated and the likelihood ofconfusion would be
   nil. "When consumers exercise heightened care in evaluating the relevant products before
   making purchasing decisions, couns have found there is not a strong likelihood ofconfusion.
   Where the relevant products are expensive, or the buyer class consists ofsophisticated or
   professional purchasers, courts have generally not found Lanham Act violations." Checkpoint
   Sys. tJ. Check Point Software Techs., Inc., 269 F.3d 270, 284 (3d Cir. 2001)
           Lastly, I note that, contrary to your July 27th assenion that the two marks are
   confusingly similar, on July 29th - just two days later - you signed a Class 1 trademark
   application for ParActin, in which you represented to the USPTO that "no other persons ...
   have the right to use the mark in commerce, either in the identical form or in such near
   resemblance as to be likely, when used on or in connection with the goods/services ofsuch
   other persons, to cause confusion or mistake, or to deceive." In doing so, you omitted any
   mention of the "Panicin" mark, including the fact that "Pankin" was published for
   opposition in December 2020; that your client did not file any objection at that time; that
   Sabinsa obtained a notice ofallowance in February 2021; and that the "Panicin" mark will be
   registered upon Sabinsa filing a statement ofuse.
           In short, there does not appear to be a bona fide basis for contending that "Panicin" is
   confusingly similar to "ParActin." That being said, should you wish to better explain your
   analysis, we are willing to review it in good faith.


                                             Yours truly,

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                                1/1-~a            n R. 'Miller

   cc:     Client
